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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

ROBERT CASTLEBERRY,
Plaintiff, '
VS. ' Civil Action No.
) 2:16-CV-00128-LGW-RSB
CAMDEN COUNTY
Defendant. )

MOTION TO QUASH A SUBPOENA TO TESTIFY
AT A DEPOSITION IN CIVIL ACTION

Pursuant to Fed. R. Civ. P. 45(c)(3)(A)Gii), Gateway Behavioral Health
Services (“Gateway”), a non-party to the above-styled action, objects to the
“Subpoena to Testify at a Deposition in a Civil Action” (the “Subpoena”) served
upon Gateway’s clinician Dr. Hadas Maimon, M.D by the Defendant in this
matter. The Subpoena also seeks medical records pertaining to a Gateway patient.
A copy of this Subpoena is attached hereto and labeled Exhibit “A”.

Gateway is a statutorily-created public agency and instrumentality of the
State of Georgia which provides to its patients or “consumers” mental health,
developmental disability, and addictive disease treatment services. See O.C.G.A.
Title 37, Chapter 2.

Gateway objects to the Subpoena on the following grounds:
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First, Gateway objects to the Subpoena to the extent it seeks privileged
communications. Communications between a mental health professional and a
patient are “absolutely” privileged in the State of Georgia. Mincey v. Ga. Dep’t of
Community Affairs, 308 Ga. App. 740, 745, 708 S.E.2d 644 (2011); O.C.G.A. §
24-5-501 (a) (5) through (8) (mental health privilege). “The privilege covers
‘communications and admissions’ between the patient and the mental-health
professional, and any information that the professional holds which has its origins
in those communications.” Mincey, 308 Ga. App. at 746. Georgia and Federal
law specifically prohibit disclosure of such privileged matters, either by physical
disclosure or any medical record or by testimony. See 42 U.S.C. § 290dd-2; 42
C.F.R. Part 2; Jaffee v. Redmond, 518 U.S. 1, 16 (1996); O.C.G.A. §§ 37-3-166
(a)(8) and 37-7-166 (7).

Here, the Subpoena seeks, among other things, “the entire record...and all
correspondence” pertaining to the patient’s care and treatment. These subpoenaed
records undoubtedly contain privileged communications (to the extent they exist).
Accordingly, should Defendants move for an order under to compel discovery,
Gateway requests this Court to exclude all records by any subsequent order within
the scope of the mental health privilege, codified at O.C.G.A. § 24-5-501.

Secondly, Gateway objects to the Subpoena to the extent it seeks “protected

health information” within the scope of the Health Insurance Portability and
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Accountability Act of 1996, Pub.L. No. 104-191 (“HIPAA”) and more specifically,
the regulations promulgated under HIPAA at 45 C.F.R. Parts 160, 162, and 164.
Gateway cannot disclose such information because an authorization has not been
executed, or in the alternative, “satisfactory assurances” have not been received as
required by 45 C.F.R. § 164.512(e)(1)(ii). See Northlake Medical Center, LLC v.
Queen, 280 Ga.App. 510, 514-515, 634 S.E.2d 486 (2006).

Absent a valid written authorization or court order, HIPAA requires “a
written statement and accompanying documentation that: (A) The party
subpoenaing such information has made a good faith attempt to provide written
notice to the individual . . . (B) The notice included sufficient information about
the litigation or proceeding in which the protected health information is
subpoenaed . . . (C) The time for the individual to raise an objection to the court or
administrative tribunal has elapsed.” 45 C.F.R. § 164.512(e)(iii). Generally, this
written statement is provided in the form of a “Statement of Compliance with
HIPAA Requirements” which satisfies the above-mentioned requirements. Here,
no such statement of compliance has been received nor has the subpoenaing party
indicated that such a statement of compliance will be forthcoming once the
statutory period for objections has elapsed.

Thirdly, Gateway objects to the Subpoena to the extent it seeks records

within the scope of O.C.G.A. §§ 37-3-166, which protects mental health records
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and information. Gateway cannot disclose such information because a valid
subpoena has not been received or court order been entered. O.C.G.A. § 37-3-
166(a)(8); see Ga. Com. R. & Reg. R. § 290-4-9-.05(1)(i) (valid subpoena or court
order required).

Accordingly, pursuant to the authorities cited above, the records subpoenaed

may not be disclosed.

WHEREFORE, if Defendants move for a court order to compel discovery,

then Gateway respectfully prays for the following relief:

(1)Enter an order excluding all privileged communications within the scope
of O.C.G.A. § 24-5-501(a)(5)-(8) (mental health privilege);

(2)Enter a court order either (a) excluding all “protected health information”
within the scope of HIPAA and its implementing regulations; or in the
alternative, (b) directing Gateway to disclose such information; and

(3)Enter a court order either (a) excluding all mental health records within
the scope of O.C.G.A. § 37-3-166; or in the alternative, (b) directing

Gateway to disclose such information.
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Respectfully submitted this 21% day of May, 2019.

FREEMAN, MATHIS & GARY LLP

/s/ H. Joseph Colette

H. JOSEPH COLETTE

Georgia Bar No. 170045

Attorney for Gateway Behavioral Health

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Forest Park, Georgia 30297
Tel.: (470) 322-1810

Fax: (404) 525-4347
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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

ROBERT CASTLEBERRY,
Plaintiff,
VS. Civil Action No. 2:16-CV-00128-
) LGW-RSB
CAMDEN COUNTY
Defendant.
CERTIFICATE OF SERVICE

 

The undersigned certifies that the foregoing document, MOTION TO
QUASH A SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL
ACTION, was filed with the Clerk via the Court’s CM/ECF system, which will
automatically affect service upon the attorneys of record.

This 215? day of May, 2019.
FREEMAN, MATHIS & GARY LLP

/s/ H. Joseph Colette

H. JOSEPH COLETTE

Georgia Bar No. 170045

Attorney for Gateway Behavioral Health

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EXHIBIT A
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AO 88A (Rey, 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the

Southern District of Georgia

ROBERT CASTLEBERRY

 

Plaintiff

’ ivi : 2:16-cv-00128-LGW-RSB
CAMDEN COUNTY Civil Action No.

 

Defendant

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

Hadas Maimon, M.D., Gateway Behavioral Health Services
To: 701-A Charles Gilman, Jr Blvd.
Kingsland, GA 31548

 

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Gaiden County Superior Court - Jury Assembly Room | Date and Time:

10 4th Street ;
Woodbine, GA 31569 05/29/2019 12:00 pm

 

 

 

 

The deposition will be recorded by this method: _ Certified Court Reporter by stenographic means

 

 

Wf Production: You, or your representatives, must also bring with you to the deposition the following documents,
électronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: SEE ATTACHED EXHIBIT A

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: Mey 13, 2619
CLERK OF COURT
OR

Dd Plamen.

Signature of Clerk or Deputy Clerk Attorney's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
CAMDEN COUNTY , who issues or requests this subpoena, are:

William S. Mann - Hall Booth Smith, P.C., 3528 Darien Hwy, Suite 300, Brunswick, GA 31525; (912) 554-0093

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).

 
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No, 2:16-CV-00128-LGW-RSB

PROOF OF SERVICE
(This section should not be filed with the court untess required by Fed. R. Civ. P. 45.)

 

I receive this subpoena for (name of individual and title, ifany) Hadas Maimon, M.D.
on (date) SY £-3/ 3

serve the subpoena by delivering a copy to the named individual as follows: Ha, ol ers

MAéimn Mf. oy
on (date) Z, / ‘3/19 5 or

 

C1 [returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this WG

Serves
pone! J 65 [CMS]

_[es name and title

Dok, Cte

Server's address

Additional information regarding attempted service, etc.:

 
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EXHIBIT A
MEDICAL RECORDS:

A CERTIFIED copy of the ENTIRE RECORD and ALL BILLING
STATEMENTS and ALL CORRESPONDENCE concerning the care
and treatment of ROBERT CASTLEBERRY ; 04/19/1981; SSN: xxx-
xx-xxx, including, but net limited to, new patient forms, face sheets,
authorization sheets, admission record and/or summary, discharge
summary and notes, patient information sheets, personal history and
physical examinations, consultants’ notes, x-rays requisitions and
reports, miscellaneous reports, electrocardiograms and _ other
specialized testing, anesthetic notes, reports and records of usage,
pharmacy records, operative records, flow sheets and scheduling data,
nurses’ medication sheets, clinical records, temperature charts,
pathology reports, reports of biopsy, accident or incident reports,
reports of all staff committees, physicians’ order sheets, recovery
room records, blood pressure sheets, intake and output charts,
insurance sheets, physicians’ notes, nurses’ notes, correspondence,
ambulance reports, emergency room records, history given by other
than the patient, laboratory data and reports, tests and summaries,
including any records where same has been contracted out, physical
therapy notes, progress reports, CT scans and other diagnostic
studies, and all other related documents regarding said ROBERT
CASTLEBERRY from any time in the past to present date.

 
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/Case 2:16-cv-00128-LGW-BWC Document 83 Filed 05/21/19 Page 11 of 11

AQ88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)
Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c} Place of Compliance.

() For a Trial, Hearing, or Deposition, A subpoena may command a
person to aitend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person, or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, ifthe person
(i) is a party or a party's officer, or
Gi is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, clectronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

{d) Protecting a Person Subject to 2 Subpocna; Enforcement.

(D Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

{A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(D At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(if) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

{i) fails to allow a reasonable time to comply;

(fi) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person to undue burden,

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(i) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was nol requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Siored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same clectronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
iiaterial maust:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. [f information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved. :

(g) Contempt.

The court for the district where compliance is required—and also, afler a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
